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Rev. 11/82
CRIMINAL COMPLAINT
UNITED STATES DISTRICT COURT CENTRAL-BAS-FRIGE QF CALIFORNIA
UNITED STATES OF AMERICA DOCKET NO. CLERK, U.S. DISTRICT COURT
Vv,
XT36 an aoa
JUAN CARLOS MEZA, MAGISTRATE'S CATE aul
aka “Carlos Meza,”

aka “Juan Carlos Meza Gonzalez,” INDISTAICT OF CALIFORNIA
0 7 - 1 DEPUTY

 

 

Complaint for violation of Title 8, United States Code §§ 1326(a), (b)(2): Illegal Alien Found in the
United States Following Deportation.
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NAME OF MAGI§ERATE JUDGE LOCATION
3 ne UNITED STATES
HON JACQUELINE CHOOLJIAN MAGISTRATE JUDGE Los Angeles, CA
DATEOF OFFENSE «| PLACE OF OFFENSE ADDRESS OF ACCUSED (IF KNOWN)
- wa ;
Juned1, 2007 &© [Los Angeles County

a, be =
COMPLAINANT'S STATEMENT. OF FACTS CONSTITUTING THE OFFENSE OR VIOLATION :

On or about June 11, 2007, defendant JUAN CARLOS MEZA, also known as (“aka”) “Carlos Meza,” aka
“Juan Carlos Meza Gonzalez,” an alien who had been officially removed from the United States on or about April
11, 2002, and September 29, 2006, was found in Los Angeles County, within the Central District of California, after
knowingly and voluntarily re-entering and remaining in the United States without having obtained permission from
the Attorney General or his designated successor, the Secretary for Homeland Security, to reapply for admission to
the United States following defendant’s removals.

At least one of defendant’s previously alleged removals from the United States occurred subsequent to
defendant’s conviction for the following aggravated felony: Possession for Sale of a Controlled Substance, to wit,
Methamphetamine, in violation of California Health and Safety Code Section 11378, on or about April 7, 2006, in
the Superior Court of California, County of Los Angeles, Case Number VA093096, a drug trafficking offense for
which defendant was sentenced to one year and four months imprisonment.

 

BASIS OF COMPLAINANT'S CHARGE AGAINST THE ACCUSED:
{See attached affidavit which is incerporated as part of this Complaint)

 

MATERIAL WITNESSES IN RELATION TO THIS CHARGE :

 

Being duly sworn, I declare that the SIGNATURE OF COMPLAINANT

 

foregoing is true and correct to the : ~
best of my knowledge. RON O#KI

OFFICIAL TITLE

 

Deportation Officer - ICE

 

Sworn to before me and subscribed in my presence,

 

 

 

SIGNATURE OF MAGISTRATE VD DATE
ps — October 30, 2007

 

 

1) Sep ReseeavRules of Crimmal Procedure rules 3 and 54.

SAUSA sno H. LUNSFORD REC: DETENTION
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AFFIDAVIT

I, Ron Oki, being duly sworn, do hereby depose and say:

l. I am a Deportation Officer ("DO") with the United
States Department of Homeland Security (“DHS”), Immigration and
Customs Enforcement (“ICE”). I have been a DO with ICE, formerly

known as the Immigration and Naturalization Service (“INS”),
Since September 2007. I am currently assigned to the Los Angeles
Detention and Removal Operations Unit. Prior to working for ICE,

I worked as a Special Agent with INS, since June 1996.

2. This affidavit is made in support of a criminal
complaint against JUAN CARLOS MEZA (“MEZA”), also known as
(“aka”) “Carlos Meza,” aka “Juan Carlos Meza Gonzalez,” charging

him with violating Title 8, United States Code, Sections 1326 (a)
and (b) (2), Illegal Alien Found in the United States Following
Deportation. The facts set forth in this affidavit are based
upon my personal observations, my training and experience, and
information obtained from other law enforcement agents and
witnesses. This affidavit is intended to show that there is
probable cause for the requested complaint and does not purport
to set forth all of my knowledge of, or investigation into, this
matter,

3. On October 4, 2007, DO Rafael Luge notified me that
MEZA, a previously deported criminal alien, was present in the

United States and in the administrative custody of the ICE Los
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Angeles Branch. Based on this notification, I undertook the
present investigation of MEZA,

4, Based on my training and experience, I know that a DHS
“A-File” is a file in which all immigration records are
maintained for aliens admitted to or found in the United States.
I also know that a DHS A-File usually contains photographs,
fingerprints, court records of conviction, and all records
relating to deportation or other actions by INS or DHS with
respect to the subject alien for whom the DHS A-File is
maintained.

5. On October 5, 2007, I obtained and reviewed DHS A-File

A76-622-723, which is maintained for the subject alien “JUAN

CARLOS MEZA.” The A-File contained the following documents and
information:
a. Photographs of the alien subject to whom DHS A-

File A76-622-723 corresponds. I compared these photographs to
the ICE booking photographs of MEZA taken on or about October 3,
2007. These photographs depict the same person. Thus, I
determined that DHS A-File A76-622-723 and its contents
correspond to MEZA.

b. Two executed Warrants of Removal /Deportation
indicating that MEZA was officially removed and deported from the

United States on April 11, 2002, and September 29, 2006. I know
: I
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from my training and experience that a Warrant of
Removal/Deportation is executed each time a subject alien is
removed and deported from the United States by ICE (and its
predecessor agency, INS) and usually contains the subject’s
photograph, signature, and/or fingerprint. The executed Warrants
of Removal/Deportation in MEZA’s A-File contain his photograph,
signature, and fingerprint, as well as the Signature of the
immigration official who witnessed MEZA’s official removal from
the United States.

c. A certified copy of conviction record showing that
MEZA was convicted on April 7, 2006, of Possession for Sale of a
Controlled Substance, to wit, methamphetamine, in violation of
California Health and Safety Code Section 11378, in the Superior
Court of California, County of Los Angeles, Case Number VA093096,
for which MEZA was sentenced to one year and four months
imprisonment.

d. Records indicating additional criminal
convictions. These records indicate that on June 14, 2005, MEZA
was convicted of Battery of a Peace Officer, in violation of
California Penal Code Section 243(b}, and Possession of a
Controlled Substance, in violation of California Health and
Safety Code Section 11377(a), for which MEZA was sentenced to two

hundred fifty days in county jail. These records further
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indicate that on June 1, 2005, MEZA was convicted of False
Identification to a Peace Officer, in violation of California
Penal Code Section 148.9(a), for which MEZA was sentenced to six
days in jail. These records further indicate that on March 16,
2005, MEZA was convicted of Willful Infliction of Corporal
Injury, in violation of California Penal Code Section 273.5(a),
for which MEZA was sentenced to three years of probation. These
records further indicate that on March 15, 2004, MEZA was
convicted of Possession of a Controlled Substance, in violation
of California Health and Safety Code Section 11377 (a), for which
MEZA was sentenced to ninety days in county jail. These records
further indicate that on January 9, 2004, MEZA was convicted of
Carrying a Loaded Firearm, in violation of California Penal Code
Section 12031(a) (1), and Resisting Arrest, in violation of
California Penal Code Section 148(a) (1), for which MEZA was
sentenced to sixty days in county jail. These records further
indicate that on March 5, 2002, MEZA was convicted of Battery, in
violation of California Penal Code Section 243{e) (1), for which
MEZA was sentenced to thirty days in county jail.

e, A DHS Immigration Detainer (Form I-247), dated
June 11, 2007. Based upon my review of the detainer and my
training and experience, I was able to determine that DO Lugo

placed the detainer on MEZA as part of his routine assigned
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duties to identify and interview suspected criminal aliens
present in the Los Angeles area, and MEZA was released to ICE
custody on or about October 3, 2007.

f. Various documents indicating MEZA is a native and
citizen of Mexico. These documents include: (2) a Mexican birth
certificate and Certified English Translation of the birth
certificate dated September 30, 1997, indicating that MEZA was
born in Guadalajara, Jalisco, Mexico on December 1, 1980; (ii) a
summary Order of the Immigration Judge dated April 10, 2002,
ordering MEZA deported to Mexico; and (iii) a Record of Sworn
Statement dated March 1, 2003, in which MEZA admitted that he is
a citizen of Mexico and that he was born in Mexico.

6. On October 5, 2007, I reviewed the printouts of the
California Identification Index (“CII”). Based on my training
and experience, I know that the CII database tracks and records
arrests and convictions of individuals according to an
individual’s CII number. The CII printouts confirmed that MEZA
had been convicted of the crimes reflected in the documents
contained in MEZA’s DHS A-File, described above.

7. On October 5, 2007, I reviewed the printouts of ICE
computer indices on MEZA. Based on my training and experience, I
know that the ICE computer indices track and document each time

an alien is deported and removed from the United States by ICE,
I
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was deported by the former INS, or is granted permission to enter
or re-enter the United States. The ICE computer indices
confirmed that MEZA had been deported and removed on the dates
indicated on the Warrants of Removal/Deportation found in MEZA's
DHS A-File. The ICE computer indices further indicated that MEZA
had not applied for or obtained permission from the Attorney
Generai or his designated successor, the Secretary of Homeland
Security, to re-enter the United States legally since MEZA had
last been deported and removed.

8. Based on my review of MEZA’s DHS A-File, I determined
that his A-File does not contain any record of him ever applying
for, or receiving permission from, the Attorney General or his
designated successor, the Secretary of Homeland Security, to
legally re-enter the United States. Based on my training and
experience, I know that such documentation ig required to re-
enter the United States legally after deportation, and that if
such documentation existed, it would ordinarily be found in
MEZA’s DHS A-File.

9. Based on my investigation, training and experience, I
determined that MEZA is an alien that is a citizen of Mexico who

illegally re-entered the United States without permission,
I
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10. Based on the foregoing facts, there is probable cause
to believe that JUAN CARLOS MEZA has violated Title 8, United

States Code, Sections 1326(a) and (b) (2), Illegal Alien Found in

the United States Following Deportation.

& '
Ron 1
ROOF on Officer - ICE

Subscribed and sworn to before me

on this “th day of October 2007.

02 CZ—

STATES MAGISTRATE JUDGE
